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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
               v.                              :
                                               : Criminal No. 17-cr-182 (RDM)
GEORGE PAPADOPOULOS,                           :
                                               :
               Defendant.                      :

                                     STATUS REPORT

       The parties respectfully request that the Court refer this case for the preparation of a

presentence investigation report, and that the parties provide a joint status report within thirty

days, no later than June 22, 2018.


                                                       ROBERT S. MUELLER, III
                                                       Special Counsel


                                               By:     ______/s/_________________
                                                       Jeannie S. Rhee
                                                       Andrew D. Goldstein
                                                       Aaron S.J. Zelinsky
                                                       The Special Counsel’s Office

cc: Thomas M. Breen
    Robert W. Stanley




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